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5
                        UNITED STATES DISTRICT COURT
6                      WESTERN DISTRICT OF WASHINGTON
                                 AT SEATTLE
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      MAYTRONICS, LTD.,                          CASE NO. 2:23-cv-1406
8
                           Plaintiff,            MINUTE ORDER GRANTING
9                                                UNOPPOSED MOTION TO EXTEND
            v.                                   TIME
10
      CHASING INNOVATION
11    TECHNOLOGY CO., LTD. and
      CHASING TECHNOLOGY (USA),
12    LLC,
                   Defendants.
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           On November 10, 2023, Plaintiff Maytronics, Ltd. filed its Stipulation For
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     Extension of Time And Proposed Order. Dkt. No. 10. In its motion, Maytronics
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     states that Defendant Chasing Innovation Technology Co., Ltd. has agreed to waive
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     service. Id. Maytronics represents that it and Defendants agreed to extend the time
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     for Defendants to “answer, respond, or otherwise defendant against the complaint”
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     in this matter, and as good cause, states that it would be “most efficient for both
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     Defendants to answer, respond, or otherwise defend against the complaint on the
21
     same schedule.” Id.
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     MINUTE ORDER GRANTING UNOPPOSED MOTION TO EXTEND TIME - 1
                Case 2:23-cv-01406-JNW Document 20 Filed 11/22/23 Page 2 of 2




1          Maytronics notes that Defendants have not appeared in this action, but that

2    they “authorized Plaintiff to file this stipulation on their behalf.” Id. Because the

3    motion is only signed by Maytronics’s counsel, the Court considers the request as an

4    unopposed motion rather than a stipulated one. The noting date remains the same.

5    See LCR 7(d)(1).

6          Having considered Maytonics’s motion, Court finds good cause to grant its

7    request:

8          (1) Defendants will answer, respond, or otherwise defend against the

9                complaint by January 16, 2024.

10         (2) The initial disclosure deadline is extended to December 6, 2023.

11         (3) The Joint Status Report and Discovery Plan is extended to December 13,

12               2023.

13         It is so ORDERED.

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15         Dated this 22nd day of November, 2023.



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17                                                  Jamal N. Whitehead
                                                    United States District Judge
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     MINUTE ORDER GRANTING UNOPPOSED MOTION TO EXTEND TIME - 2
